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10
                         UNITED STATES DISTRICT COURT
11                      CENTRAL DISTRICT OF CALIFORNIA
12
      UNITED STATES OF AMERICA,                   Case No. CR 17-00661(A)-DMG
13
                  Plaintiff,
                                                  [Assigned to Hon. Dolly M. Gee,
14
            vs.                                   District Court Judge]
15
      JULIAN OMIDI, INDEPENDENT
16    MEDICAL SERVICES INC., a                    DEFENDANTS JULIAN
      professional corporation, SURGERY
      CENTER MANAGEMENT, LLC, and                 OMIDI’S AND MIRALI
17
      MIRALI ZARABI, M.D.,                        ZARRABI MD’S JOINT TRIAL
18                                                MEMORANDUM
                  Defendants.
                                                  CONCERNING THE NEWLY
19
                                                  NOTICED EXHIBITS FOR DR.
20                                                DANIEL NORMAN
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         DEFENDANTS JULIAN OMIDI’S AND MIRALI ZARRABI MD’S JOINT TRIAL
27     MEMORANDUM CONCERNING THE NEWLY NOTICED EXHIBITS FOR DR. DANIEL
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         DEFENDANTS JULIAN OMIDI’S AND MIRALI ZARRABI MD’S JOINT TRIAL
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 1          This Court’s standing criminal trial order states that “short briefs” concerning
 2    any “evidentiary issues” that may arise are “welcome,” as the Court discourages
 3    sidebars to discuss issues that could have been raised outside the presence of the
 4    jury. Defendant Julian Omidi, by and through his counsel, respectfully submits this
 5    brief trial memorandum, regarding the government exhibits noticed on October 3,
 6    2021 for the direct examination of Dr. Daniel Norman (“Dr. Norman”). Only days
 7    before the government intends to call expert witness Dr. Norman for direct
 8    examination, the government noticed new exhibits for his testimony relating to
 9    over 40 previously undisclosed patients (“New Exhibits”). (Ex. 1.) None of the
10    patients related to the New Exhibits were the subject of Dr. Norman’s expert report
11    dated October 14, 2017 (Ex. 2), his expert report dated August 3, 2018 (Ex. 3), or
12    his expert disclosure dated June 17, 2020. (Ex. 4.) The government should be
13    precluded from introducing the New Exhibits as they are plainly outside the scope
14    of Dr. Norman’s disclosed testimony.
15    I.    THE COURT SHOULD PRECLUDE THE GOVERNMENT FROM
16          SHOWING DR. DANIEL NORMAN THE NEW EXHIBITS.
17          “At the defendant's request, the government must give to the defendant a
18    written summary of any testimony that the government intends to use under Rules
19    702, 703, or 705 of the Federal Rules of Evidence during its case-in-chief at trial.”
20    Fed. R. Crim. P. 16(a)(1)(G). “If a party fails to comply with this rule, the court
21    may: … prohibit that party from introducing the undisclosed evidence.” Fed. R.
22    Crim. P. 16(a)(1)(G). An Advisory Committee Note to Rule 16 explains that this is
23    intended to “minimize surprise that often results from unexpected expert testimony
24    ... and to provide the opponent with a fair opportunity to test the merit of the expert's
25    testimony through focused cross-examination.” See, e.g., United States v. Holmes,
26                                              -3-
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 1    No. 5:18-CR-00258-EJD-1, 2021 WL 2044470, at *34 (N.D. Cal. May 22, 2021)
 2    (finding the government’s expert disclosures that did not identify the number or
 3    names of patients the expert would testify about to be insufficient under Rule 16,
 4    and denying the motion without prejudice where the start of trial was still months
 5    away and the government represented that it would promptly update its disclosures).
 6            On June 16, 2020, the government provided the expert disclosure of Dr.
 7    Norman based on his reports dated October 14, 2017 and August 3, 2018 and various
 8    interviews with the government. (Exs. 1, 2) This disclosure explains that “Dr.
 9    Norman is expected to testify regarding the scoring and interpretation of specific
10    sleep study raw data provided to him, using the raw data and selected medical
11    records provided.” (Ex. 3 at 11) (emphasis added.)1 Given this, defendants were
12    surprised on October 3, 2021, when the government noticed the New Exhibits which
13    concern over 40 patients for whom Dr. Norman has never received raw data and
14    were not even shown to Dr. Norman until well-after the trial began. (Ex. 1.) Dr.
15    Norman’s expert disclosure was plainly inadequate to allow defendants with a fair
16    opportunity to cross-examine Dr. Norman regarding the New Exhibits in violation
17    of Rule 16. The government should therefore be prohibited from using the New
18    Exhibits on the direct examination of Dr. Norman.
19            The New Exhibits include:
20

21    1
       At the time of the expert disclosure, the government had provided raw data and
22    patient files for the following 24 patients: Yousif Alzarooni, Yajaira Baez,
      Daymean Baker, Frank Caron, Peggy Crisp, David HuiHui, Rosa Donoso, James
23
      Harper, Leslie Lewis, Maribel Ortiz, Mariana Vilavicencio, Tiffany Waterhous,
24    Cerena Ybarra, Maya Babila, Joseph Gydosh, Christine Hufstetler, Priscilla Leon,
      Cristiana Lorenzo, Veronica Lowrey, Felisa McGinnis, Jennifer Navasak, Rayna
25
      Payan, Shuronda Smith, and Sylvia Zamora. (Exs. 2,3.).
26                                            -4-
            DEFENDANTS JULIAN OMIDI’S AND MIRALI ZARRABI MD’S JOINT TRIAL
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 1                1.    Documents of Dr. Neil Kline relating to specific patients. Dr.
 2                      Norman has never been provided with nor reviewed the sleep
 3                      study raw data or patient files for these patients.
 4                      ●     Ex. 368 – Dr. Kline sleep studies for patients: Delores
 5                            Marsh, Gabriel Vasquez, Charlotte Mannings, Mike
 6                            Morehead, Ivan Lopez, Ana Johnson, Tara Flores, Jaimey
 7                            Crawford, Kathleen Parks, Kerry Savadin, Antwan
 8                            Bethea, and Vicki Foster.
 9                      ●     Ex. 370 – email of Dr. Kline attaching sleep studies for
10                            patients: Jentila Biddle, Teresa Bugbee, Pamela Craft,
11                            Christine Curtis, Stephanie Kuykendall-Bernstein, Maria
12                            Lopez, Alisa Morrissey, Rasela Pua, Tracey Quick, Neomi
13                            Rosales, Donna Slomski, Leslie Spezziate, Jasmine
14                            Taylor, Joan Valle, and Rachel Zerbel.
15                      ●     Ex. 372 – Dr. Kline sleep studies for patients: George
16                            Alvarado, Jose Alvarez, Pansy Baca, Candace Bailey,
17                            Antwan Bethea, Jentila Biddle, Teresa Bugbee, Pamela
18                            Craft, Christine Curtis, Stephanie Kuykendall-Bernstein,
19                            Maria Lopez, Alisa Morrissey, Rasela Pua, Tracey Quick,
20                            Neomi Rosales, Donna Slomski, Leslie Spezziate,
21                            Jasmine Taylor, Joan Valle, Rachel Zerbel, Jaimey
22                            Crawford, Tara Flores, Vicki Foster, Ana Johnson, Ivan
23                            Lopez, Charlotte Mannings, Delores Marsh, Timothy
24                            Moore, Mike Morehead, Kathleen Parks, TeRysa
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 1                             Patterson, Kerry Savadin, Brandie Smith, and Gabriel
 2                             Vasquez.
 3                2.    Documents pertaining to Veronica Coronado. Dr. Norman has
 4                      never been provided with nor reviewed Veronica Coronado’s
 5                      sleep study raw data or patient files.
 6                      ●      Ex. 108 – Letter of Medical Necessity for Veronica
 7                             Coronado
 8                      ●      Ex. 317 – Classic SleepCare prescription for CPAP for
 9                             Veronica Coronado
10                      ●      Ex. 725 – sleep study for Veronica Coronado
11                3.    Documents pertaining to Shelby Nickle. Dr. Norman has never
12                      been provided with nor reviewed Shelby Nickle’s sleep study
13                      raw data or patient files.
14                      ●      Ex. 151 – sleep study for Shelby Nickle
15                      ●      Ex. 767 – sleep study for Shelby Nickle
16                4.    Documents pertaining to Kathleen Parks. Dr. Norman has never
17                      been provided with nor reviewed Kathleen Parks sleep study raw
18                      data or patient files.
19                      ●      Ex. 376 – prescription for AutoPAP for Kathleen Parks
20                      ●      Ex. 377 – UB-04 form for Kathleen Parks
21                5.    Documents pertaining to Caraquita Steward. Dr. Norman has
22                      never been provided with nor reviewed Caraquita Steward’s
23                      sleep study raw data or patient files.
24                      ●      Ex. 159 – sleep study of Caraquita Steward
25                      ●      Ex. 204 – sleep study of Caraquita Steward
26                                               -6-
         DEFENDANTS JULIAN OMIDI’S AND MIRALI ZARRABI MD’S JOINT TRIAL
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 1                6.    Ex. 375 – UB-04 form pertaining to Rasela Pua. Dr. Norman has
 2                      never been provided with nor reviewed the sleep study raw data
 3                      or patient files for Rasela Pua.
 4                7.    Ex. 744 – Sleep study of Surinder Kaur. Dr. Norman has never
 5                      been provided with nor reviewed the sleep study raw data or
 6                      patient files for Surinder Kaur.
 7                8.    Ex. 347 – Request for pre-authorization for Maria Lopez. Dr.
 8                      Norman has never been provided with nor reviewed the sleep
 9                      study raw data or patient files for Maria Lopez.
10                9.    Ex. 141 – Sleep study of Alexandra Adame. Dr. Norman has
11                      never been provided with nor reviewed the sleep study raw data
12                      or patient files for Alexandra Adame.
13    II.   CONCLUSION
14          We respectfully request that the Court prohibit the government from
15    introducing the New Exhibits.
16
      Dated: October 5, 2021                Respectfully submitted,
17
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26                                            -7-
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